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                          UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

ALDARESS CARTER, INDIVIDUALLY,                  )
AND FOR A CLASS OF SIMILARLY                    )
SITUATED PERSONS OR ENTITIES,                   )
                                                )
       Plaintiffs                               )
                                                )      Civil Action No.:
       v.                                       )      2:15-cv-555-RCL
                                                )
THE CITY OF MONTGOMERY, et al                   )
                                                )
       Defendants.                              )

                      MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to LR 83.1 of the Local Rules of this Court, G. Daniel Evans, a member in

good standing of the Bar of the Court, moves for the admission Pro Hac Vice of Toby J.

Marshall as additional counsel for Plaintiffs. In support of this Motion, movant states as

follows:

       1.     Toby J. Marshall is a graduate of the University of Washington and is a

licensed attorney at Terrell Marshall Law Group PLLC, 936 N. 34th Street, Suite 300,

Seattle, WA 98103, telephone - 206-816-6603, facsimile - 206-319-5450, email:

tmarshall@terrellmarshall.com.

       2.     Mr. Marshall is a member in good standing of the State Bar of Washington

under Bar Number #32726. He is also admitted to practice before the United States District

Court, Western District of Washington; United States District Court, Eastern District of

Washington; Ninth Circuit Court of Appeals; United States District Court, District of

Colorado; Fourth Circuit Court of Appeals; and the United States Supreme Court. His

Certificate of Good Standing with the State Bar of Washington is attached hereto as Exhibit
                                            1
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A.


      3.     Mr. Marshall agrees to be bound by the local rules of this Court and to

comport himself in accordance with the Alabama Rules of Professional Responsibility

and, to the extent not inconsistent with the preceding, the American Bar Association

Model Rules of Professional Conduct except Rule 3.8(f) thereof.


                                        RESPECTFULLY SUBMITTED,

                                        /s Daniel Evans
                                        G. Daniel Evans
                                        ASB-1661-N76G
                                        Alexandria Parrish
                                        ASB-2477-D66P
                                        Maurine C. Evans
                                        ASB-4168-P16T
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                                        Oakland, CA 94612
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                                        E-Mail: bhardingham@publicjustice.net




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this the 30th day of July, 2020, I electronically filed the
foregoing Motion for Admission Pro Hac Vice with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to the following:

Micheal S. Jackson
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Birmingham, AL 35203

                                         s/ G. Daniel Evans
                                         G. Daniel Evans
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        - Exhibit A -
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                        UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
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ALDARESS CARTER, INDIVIDUALLY,                  )
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SITUATED PERSONS OR ENTITIES,                   )
                                                )
     Plaintiffs                                 )
                                                )       Civil Action No.:
     v.                                         )       2:15-cv-555-RCL
                                                )
THE CITY OF MONTGOMERY, et al                   )
                                                )
     Defendants.                                )


                                   CERTIFICATION

     I, Toby J. Marshall, hereby certify that I have read and understand the following:

            (a)    any local rules applicable in this District;

            (b)    the Alabama State Bar Code of Professional Courtesy and the Lawyer’s
                   Creed, which can be accessed at:

                   https://www.alabar.org/office-of-general-counsel/ethics-
                   division/code-of-professional-courtesy/,
                   https://www.alabar.org/office-of-general-counsel/ethics-division/

            (c)    this court's CM/ECF requirements.


                                         _____________________________
                                         Toby J. Marshall
